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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                     COLUMBIA DIVISION

Eric U. Walker,                                 )       Civil Action No. 3:17-cv-03480-MGL
                                                )
                                 Plaintiff,     )
                                                )
               vs.                              )        STIPULATION OF DISMISSAL
                                                )             WITH PREJUDICE
Western-Southern Life Assurance                 )
Company,                                        )
                                                )
                                  Defendant.    )
                                                )

       THE PARTIES HEREBY STIPULATE AND AGREE that, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the above-captioned action and all claims

asserted therein, and all claims asserted against Western and Southern Life Insurance Company

in the original Complaint, are hereby DISMISSED, with prejudice.

       THE PARTIES FURTHER STIPULATE AND AGREE that each party shall be

responsible for its own costs and attorneys’ fees.

WE SO STIPULATE:                                     WE SO STIPULATE:

DAVE MAXFIELD, ATTORNEY, LLC                         NELSON MULLINS RILEY &
                                                     SCARBOROUGH LLP

By: s/Dave Maxfield_______                           By: s/D. Larry Kristinik_________
      David A. Maxfield                                    D. Larry Kristinik
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September 19, 2018



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